UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

Marcn 20, 2006

TO: U. S. District Court for the
Western District of North Carolina at Charlotte

FROM: Amelia Brandon, Deputy Clerk

RE: 05-7268 US v. Porter
CR-85~62
CA-05-306

Enclosures:

Original record on appeal consisting of:
[ 4 ] Volumes of pleadings

] Volumes of transcripts

] volumes of exhibits

] Volumes of depositions

] SEALED volumes

] Volumes of State Court Record

] Volnmes other

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[ 4 j TOTAL VOLUME(S)
[ l j TOTAL NUMBER OF BOXES

f l Other:

 

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